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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Criminal Action No.: l 8-cr-00193-RM

UNITED STATES OF AMERICA,
Plaintiff,

v.

l. DAVID HENRY NYQUIST,

Defendant.

 

PLEA AGREEMENT

 

The United States of America (the government), by and through Kurt J. Bohn,
Assistant United States Attorney for the District of Colorado, and Defendant, DAVID
HENRY NYQUIST, personally and by counsel, Barrett Weisz submit the following Plea
Agreement, pursuant to D.C. Colo. LCrR ll.l.

I. PLEA AGREEMENT

The Defendant agrees to plead guilty to Count One of the Indictment which charges
him with possession of firearms by a previously convicted felon in violation of 18 U.S.C. §
922(g)(1); Count Two of the Indictment which charges him with possession of ammunition
by a previously convicted felon in violation of 18 U.S.C. § 922(g)(l); and Count Three of
the Indictment which charges him with possession of firearms not registered in the

National Firearms Registration and Transfer Record in violation of 26 U.S.C. §§ 5841,

Court’s Exhibit

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5861(d),and 5871.

The government agrees that a three-point reduction in the offense level for
acceptance of responsibility is appropriate pursuant to United States Sentencing
Commission, Guidelines Manual, § 3E1.l(a)(Nov. 2016).

Pursuant to Fed.R.Crim.P.l l(c)(l)(B), the parties agree to recommend that the
Defendant be confined for a period of 54 months.

The parties believe that the Defendant is in primary federal custody and jointly ask
the Court to make such a finding

The defendant is aware that 18 U.S.C. § 3742 affords a defendant the right to appeal
the sentence imposed. Understanding this and in exchange for the concessions made by
the government in this agreement, the defendant knowingly and voluntarily waives the
right to appeal any matter in connection with this prosecution, conviction, or sentence
unless it meets one of the following three criteria: (1) the sentence imposed is above the
maximum penalty provided in the statute of conviction, (2) the Court, after determining the
otherwise applicable sentencing guideline range, either departs or varies upwardly, or (3)
the Court determines that the offense level is greater than 23 and imposes a sentence based
upon that offense level determination Except as provided above, the defendant also
knowingly and voluntarily waives the right to appeal the manner in which the sentence is
determined on grounds set forth in 18 U.S.C. § 3742. The defendant also knowingly and
voluntarily waives his right to challenge this prosecution, conviction, or sentence and/or

the manner in which it was determined in any collateral attack, including but not limited to
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a motion brought under 28 U.S.C. § 2255. This waiver provision, however, will not prevent
the defendant from seeking relief otherwise available if: (1) there is an explicitly
retroactive change in the applicable guidelines or sentencing statute, (2) there is a claim
that the defendant was denied the effective assistance of counsel, or (3) there is a claim of
prosecutorial misconduct Additionally, if the government appeals the sentence imposed
by the Court, the defendant is released from this waiver provision.
Forfeiture of Assets

The defendant agrees to forfeit to the United States immediately and voluntarily any
and all property, or portions thereof, subject to forfeiture, pursuant to Title 18, United
States Code, section 924(d), whether in the possession or control of the United States or in
the possession or control of the defendant. The assets to be forfeited specifically include,
but are not limited to:

a) Professional Ordinance, Model Carbon 15, 5.56 caliber semi-automatic pistol,

serial number B22554;

b) Glock, Model 19, 9 mm caliber semi-automatic pistol, serial number HR956;

c) Sig-Sauer, Model P220, .45 caliber semi-automatic pistol, serial number

(}219020;

d) Ruger, Model Mark II Target, .22 caliber semi-automatic pistol, serial number

21633931;

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e) Columbia River Precision, Model COL-3 71\/[1\/1, 37mm flare gun with no serial

number;

f) Columbia River Precision, Model COL-37MM, 37mm flare gun with no serial

number;

g) Unknown Manufacturer, Unknown caliber, silencer with no serial number;

h) Unknown Manufacturer, Unknown caliber, silencer with no serial number;

i) Unknown Manufacturer, Unknown caliber, silencer with no serial number;

j) any and all ammunition associated with these firearms and recovered in this

matter.

The defendant agrees and consents to the forfeiture of these assets pursuant to any
federal criminal, civil, and/or administrative forfeiture action.

The defendant admits and agrees that the conduct described in the Factual Basis
below provides a sufficient factual and statutory basis to establish that the requisite nexus
exists between the specific property subject to forfeiture and the offense to which
defendant is pleading guilty. Pursuant to the provisions of Rule 32.2(b)(1), the United
States and the defendant request that at the time of accepting this plea agreement, the Court
find that the government has established the requisite nexus and enter a preliminary order
of forfeiture.

In addition to forfeiture, the defendant further agrees to relinquish all claim, title and

interest he has in the firearm and ammunition seized from the defendant to the United

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States.
II. ELEMENTS

The Defendant understands that in order to prove his guilt, the government would
have to prove beyond a reasonable doubt the following elements of the offenses.
Defendant understands by his guilty plea, he is admitting that he committed the following
acts:

Counts One and Two: 18 U.S.C. § 922(,<;)( §

First: the Defendant knowingly possessed a firearm or ammunition

Second: the Defendant was convicted of a felony, that is, a crime punishable by
imprisonment for a term exceeding one year, before he possessed the firearm or
ammunition; and

Third: before the Defendant possessed the firearm or ammunition, the firearm or
ammunition had moved at some time from one state to another.

The term “firearm” means any weapon that will or is designed to or may readily be
converted to expel a projectile by the action of an explosive. The term “firearrn” also
includes the frame or receiver of any such weapon, or any firearm muffler or firearm
silencer, or destructive device.

Count Three: 26 U.S.C. § 5861( d) Possession of an Umeg§ered Firearm
First: Defendant knowingly possessed a firearm, as that term has been defined in

this instruction;

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Second: the Defendant knew of the specific characteristics or features of the
firearm, that it was a firearm silencer that caused it to be registrable under the National
Firearms Registration and Transfer Record;

Third: the firearm was in operating condition; and

Fourth: the firearm was not registered to the defendant in the National Firearms
Registration and Transfer Record.

III. STATUTORY PENALTIES

The maximum statutory penalty for a violation of Count One is not more than 10
years imprisonment, not more than a $250,000.00 fine, or both; not more than 3 years
supervised release; and a 8100.00 special assessment fee.

The maximum statutory penalty for a violation of Count Two is not more than 10
years imprisonment, not more than a $250,000.00 fine, or both; not more than 3 years
supervised release; and a $100.00 special assessment fee.

The maximum statutory penalty for a violation of Count Three is not more than 10
years imprisonment, not more than a $10,000.00 fine, or both; not more than 3 years
supervised release; and a 8100.00 special assessment fee.

If probation or supervised release is imposed, a violation of any condition of
probation or supervised release may result in a separate prison sentence and additional

supervision

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IV. COLLATERAL CONSEQUENCES

The conviction may cause the loss of civil rights, including but not limited to the
rights to possess firearms, vote, hold elected office, and sit on a jury.

V. STIPULATION OF FACTUAL BASIS AND
FACTS RELEVANT TO SENTENCING

The parties agree that there is no dispute as to the material elements which establish
a factual basis of the offense of conviction. Pertinent facts are set out below in order to
provide a factual basis for the plea and to provide facts which the parties believe are
relevant, pursuant to § 1B1.3, for computing the appropriate guideline range. To the
extent the parties disagree about the facts relevant to sentencing, the statement of facts
identifies which facts are known to be in dispute at the time of the plea. (§ 6Bl.4(b))

The statement of facts herein does not preclude either party from presenting and
arguing, for sentencing purposes, additional facts or factors not included herein which are
relevant to the advisory guideline computation (§ 1B1.3) or to sentencing in general
(§ 1B1.4). Nor is the Court or Probation precluded from the consideration of such facts.
In "determining the factual basis for the sentence, the Court will consider the stipulation [of
the parties], together with the results of the presentence investigation, and any other
relevant information." (§ 6B1.4 Comm.)

The parties agree that the government’s evidence would show that the date on which
the conduct relevant to the offense (§ 1B1.3) began is December 29, 2017.

The parties agree that the govemment’s evidence would be:

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On December 29, 2017 , the Defendant left his residence and was followed by
law enforcement. Law enforcement effected a high risk stop. A brief stand-off
ensued. During the standoff the Defendant contacted dispatch, indicated that he
had firearms in his possession, and made threats to use them. Law enforcement
personnel observed the Defendant reaching around inside the vehicle on several
occasions to include behind the driver’s seat. Ultimately, the Defendant
surrendered

Law enforcement officers conducted a search of the Vehicle and recovered four
firearms, three silencers, and over 1,000 rounds of ammunition. Specii:ically, they
recovered:

a) Prof`essional Ordinance, Model Carbon 15, 5.56 caliber semi-automatic
pistol, serial number B22554;

b) Glock, Model 19, 9 mm caliber semi-automatic pistol, serial number
HR956;

c) Sig-Sauer, Model P220, .45 caliber semi-automatic pistol, serial number
G219020;

d) Ruger, Model Mark II Target, .22 caliber semi-automatic pistol, serial
number 21633931;

e) Columbia River Precision, Model COL-37MM, 37mm flare gun with no

serial number;

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f) Columbia River Precision, Model COL-37MM, 37mm flare gun with no
serial number;

g) Unknown Manufacturer, Unknown caliber, silencer with no serial
number;

h) Unknown Manufacturer, Unknown caliber, silencer with no serial
number;

i) Unknown Manufacturer, Unknown caliber, silencer with no serial number;

j) and over one thousand (1,000) rounds of ammunition associated with these
firearms

The Defendant possessed three silencers, one was affixed to the Ruger, one

was in the bag with the Smith and Wesson, and the one for the Glock was in a
separate bag. Only the Professional Ordinance, Model Carbon 15, 5.56 caliber
semi-automatic pistol, did not have a silencer for it. None of the three silencers
were registered to the Defendant in the National Firearms Registration and Transfer
Registration.

Prior to December 29, 2017 , Mr. Nyquist had been convicted of a felony, and
was thus prohibited from possessing firearms or ammunition

The Defendant admits that he purchased the firearms and ammunition on
different days and times. At the time of the Defendant’s arrest the firearms and the
majority of the ammunition (other than the ammunition in the firearms themselves)

were stored in the Vehicle in separate areas of the car. The Defendant does not

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dispute that the differences between the time and place of his purchase and storage
of the firearms, silencers, and ammunition create a separate basis of liability for
Counts One and Two.

The Defendant admits that he possessed the firearms and ammunition referenced
above. The Defendant admits the firearms and ammunition were manufactured outside
the State and District of Colorado, and consequently, had traveled in interstate commerce
before he possessed them. The firearms were test fired and functioned as designed, so that
they were capable of expelling a projectile by the use of an explosive force.

VI. SENTENCING COMPUTATION

The parties stipulate that sentencing in this case will be determined by application of
the factors listed in 18 U.S.C. § 3553(a), including the advisory sentencing guidelines
issued by the Sentencing Commission pursuant to 28 U.S.C. § 994(a)(1). See 18 U.S.C.
§ 35 53(a)(4). The parties acknowledge that, pursuant to United States v. Booker, 125
S.Ct. 738 (2005) and related cases, these guidelines are advisory in nature and one of the
factors that the Court must consider in imposing sentence.

The parties understand that the Court may impose any sentence, up to the statutory
maximum, regardless of any guideline range computed, and that the Court is not bound by
any position of the parties. (§ 6Bl.4(d)) The Court is free, pursuant to §§ 6A1.3 and
6Bl.4, to reach its own findings of facts and sentencing factors considering the parties’

stipulations, the presentence investigation, and any other relevant information (§ 6B1.4

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Comm.; § 1B1.4)

To the extent the parties disagree about the sentencing factors, the computations
below identify the factors which are in dispute. (§ 6Bl.4(b)).

The 2016 Edition of the Sentencing Guidelines is applicable to this case.

A. The base guideline is § 2K2.1(a)(4)(B), with a base offense level of 20.

B. There is two level increase for a specific offense characteristic for the number
of firearms. § 2K2.1(b)(l(B). There is a four level increase for a specific offense
characteristic for possession of the firearms in connection with another felony offense.

§ 2K2.1(b)(6)B). The Defendant disputes the application of this enhancement

C. There are no victim-related, role-in-offense, obstruction and/or multiple count
adjustments which apply.

D. The adjusted offense level would therefore be 26. The Defendant believes the
adjusted offense level is 22.

E. The defendant should receive a 3-level adjustment for acceptance of
responsibility The resulting offense level would therefore be 23. The Defendant believes
the resulting offense level is 19,

F. The parties understand that the defendant’s criminal history computation is
tentative. The criminal history category is determined by the Court based on the
defendant’s prior convictions. Based on information currently available to the parties, it is

estimated that the defendant’s criminal history category would be III.

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G. The career offender/ criminal livelihood/armed career criminal adjustments
would not apply.

H. The advisory guideline range resulting from these calculations is 57 to 71
months. However, in order to be as accurate as possible, with the criminal history
category undetermined at this time, the offense level estimated above could conceivably
result in a range from 46 months (bottom of Category l) to 115 months (top of Category
VI). The guideline range would not exceed, in any case, the cumulative statutory
maximums applicable to the counts of conviction

The Defendant believes the advisory range of confinement would be 37 to 46
months.

I. Pursuant to guideline § 5E1.2, assuming the estimated offense level above, the
fine range for this offense would be $20,000.00 to $200,000.00, plus applicable interest
and penalties. The Defendant believes the fine range would be $10,000.00 to
$100,000.00.

J. Pursuant to guideline § 5D1.2, if the Court imposes a term of supervised release,
that term is not less than three years.

K. There is no restitution in this case.

The parties understand that although the Court will consider the parties’ estimate,
the Court must make its own determination of the guideline range. In doing so, the Court

is not bound by the position of any party.

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VII. WHY THE PROPOSED PLEA DISPOSITION IS APPROPRIATE

This document states the parties’ entire agreement There are no other promises,
agreements (or "side agreements"), terms, conditions, understandings, or assurances,
express or implied. In entering this agreement, neither the government nor the defendant
has relied, or is relying, on any terms, promises, conditions, or assurances not expressly

stated in this agreement

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KURT J. BOHN
Assistant U.S. Attorney

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